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   IT IS ORDERED as set forth below:




   Date: November 16, 2007
                                                     _________________________________
                                                               Mary Grace Diehl
                                                         U.S. Bankruptcy Court Judge
   _______________________________________________________________


                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

In re:                                           )       Chapter 11
                                                 )
PIKE NURSERY HOLDING LLC,                        )       Case No. 07-79129-mgd
                                                 )
                               Debtor.           )
                                                 )

           ORDER GRANTING DEBTOR’S MOTION FOR ORDER PURSUANT
               TO 11 U.S.C. §§ 105(a) AND 363 AUTHORIZING DEBTOR
           TO HONOR CERTAIN PRE-PETITION CUSTOMER OBLIGATIONS

         This matter is before the Court on the motion of Pike Nursery Holding LLC (the

“Debtor”) for authority to honor certain pre-petition customer obligations (the “Motion”).

         The Court has considered the Motion, the Declaration of Scott Schnell in Support of First

Day Applications and Motions, and the matters reflected in the record of the hearing held on the

Motion. It appears that the Court has jurisdiction over this proceeding; that this is a core

proceeding; that notice of the Motion has been given to the Office of the United States Trustee,

counsel for the Debtor’s pre-petition senior secured lenders, counsel to the Debtor’s proposed

debtor-in-possession lenders, and the Debtor’s twenty (20) largest unsecured creditors; that no
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further notice is necessary; that the relief sought in the Motion is in the best interests of the

Debtor, its estate, and its creditors; and that good and sufficient cause exists for such relief.

       Accordingly, it is hereby ORDERED as follows:

       1.      The Motion is GRANTED.

       2.      Debtor is authorized, but not required, in its business judgment, to honor, modify,

or discontinue, as the case may be, any customer program without further application to (or the

approval of) the Court.

       3.      Debtor is authorized, but not required, to honor or compromise the pre-petition

obligations under its customer programs in the ordinary course of business.

       4.      To the extent the ten (10) day stay of Bankruptcy Rule 6004(g) may be construed

to apply to the subject matter of this Order, such stay is hereby waived.

       5.      The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

       6.      Counsel for the Debtor is directed to serve a copy of this Order on all parties on

the Master Service List within three (3) days of the entry of this Order and to file a certificate of

service with the Clerk of the Court.


                                       [END OF DOCUMENT]




                             [Signatures of counsel on following page]
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Prepared and presented by:

SCROGGINS & WILLIAMSON


  /s/ Ashley R. Ray
J. Robert Williamson
Georgia Bar No. 765214
Ashley Reynolds Ray
Georgia Bar No. 601559
1500 Candler Building
127 Peachtree Street, NE
Atlanta, Georgia 30303
Telephone: (404) 893-3880
Telecopier: (404) 893-3886
E-mail: rwilliamson@swlawfirm.com
        aray@swlawfirm.com
Counsel for the Debtor
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                                 Distribution List


                                J. Robert Williamson
                              Scroggins & Williamson
                               1500 Candler Building
                              127 Peachtree Street, NE
                                 Atlanta, GA 30303

                        Office of the United States Trustee
                       362 Richard Russell Federal Building
                              75 Spring Street, S. W.
                             Atlanta, Georgia 30303
